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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: July 29, 2005


____________________________________________________________


                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

                                                   )
 In re:                                            )      Chapter 11
                                                   )
 EAGLEPICHER HOLDINGS, INC., et al.,               )      Jointly Administered
                                                   )     Case No. 05-12601
                      Debtors.                     )     Judge J. Vincent Aug



   SECOND INTERIM FINANCING ORDER UNDER 11 U.S.C. §§ 105(a), 361 362, 363
  AND 364, FEDERAL BANKRUPTCY RULES 2002, 4001, 6004 AND 9014 AND LOCAL
  BANKRUPTCY RULES 4001-2 AND 4001-3: (I) APPROVING DEBTORS PURCHASE
    OF ACCOUNTS RECEIVABLE OF EAGLEPICHER FUNDING CORPORATION;
   (II) AUTHORIZING THE DEBTORS TO (A) OBTAIN SECURED POST-PETITION
    FINANCING; AND (B) USE CASH COLLATERAL; (III) GRANTING ADEQUATE
            PROTECTION; (IV) MODIFYING THE AUTOMATIC STAY;
                    AND (V) GRANTING RELATED RELIEF


          THIS MATTER came on for hearing on July 26, 2005 at 10:00 a.m. (the “Second Interim

 Hearing”). EaglePicher Holdings, Inc. (“Holdings”), EaglePicher Incorporated (“EPI”) and the

 other Debtor Originators (as defined below) as listed on Schedule 1 hereto (the “Subsidiary

 Guarantors”), as debtors and debtors-in-possession (collectively, with Holdings and EPI, the
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        “Debtors”) in the above-captioned Chapter 11 cases (the “Chapter 11 Cases”), which

 filed voluntary petitions for reorganization pursuant to Chapter 11 of Title 11, United States

 Code (the “Bankruptcy Code”), on April 11, 2005 (the “Petition Date”), have applied to this

 Court (the “Motion”) for an order (“Order” or “Second Interim Order”):

        1)      approving the repurchase, pursuant to Bankruptcy Code § 363(b), by those

 Debtors that are originators of accounts receivable (the “Debtor-Originators”), as set forth in

 Schedule 1 hereto, of all of the accounts receivable they previously sold to EaglePicher Funding

 Corporation (“EP Funding” or the “Receivables Subsidiary”) and the consummation of certain

 other related transactions pursuant to the terms and conditions of the Receivables Purchase and

 Reassignment Agreement dated as of the Petition Date (“RPRA”) substantially in the form of

 that annexed as Exhibit “D” to the Motion (with all ancillary documents referred to therein

 and/or required to be executed in connection therewith, the “Receivables Repurchase

 Documents”);

        2)      authorizing, pursuant to Bankruptcy Code §§ 364(c) and (d), the Debtors, in the

 capacity of either borrower or guarantor, to obtain debtor-in-possession financing from the DIP

 Lenders (as hereinafter defined) pursuant to the terms and conditions of (a) the Post-Petition

 Credit Agreement, substantially in the form of that annexed as Exhibit “F” to the Motion (as
                                                       1
 amended, the “Post-Petition Credit Agreement,” together with all ancillary documents referred

 to therein and/or required to be executed in connection therewith, the “DIP Financing

 Documents” ) by and among the Debtors, Harris N.A., successor by merger to Harris Trust and

 Savings Bank and such other financial institutions named therein or which hereafter become a

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        The post-petition credit agreement has been amended by (i) the First Amendment to Post-Petition Credit
        Agreement dated as of May 6, 2005, (ii) the Second Amendment to Post-Petition Credit Agreement dated
        May 24, 2005, (iii) the Third Amendment to Post-Petition Credit Agreement dated June 24, 2005, and
        (iv) the Fourth Amendment to Post-Petition Credit Agreement.
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 party thereto (collectively, the “DIP Lenders”) and Harris N.A., successor by merger to Harris

 Trust and Savings Bank as collateral agent and administrative agent for the DIP Lenders (in such

 capacity, the “DIP Agent”), (b) the budget annexed as Exhibit A hereto, which may be amended

 with the consent of the DIP Agent (the “Budget”) and (c) this Second Interim Order

 (collectively, the “DIP Credit Facility”);

        3)      granting the Pre-Petition Lenders (as hereinafter defined), as adequate protection

 against the diminution in the value or amount of the pre-petition collateral pledged by the

 Debtors as security for their obligations to the Pre-Petition Lenders, Replacement Liens (as

 hereinafter defined) and a super-priority administrative expense claim under Bankruptcy Code

 §507(b), subject to the liens, security interests and super-priority treatment granted the DIP

 Lenders; and

        4)      granting General Electric Capital Corporation (individually and in its separate

 roles as Purchaser, Administrative Agent, Collateral Agent and Indemnified Person under the

 Receivables Purchase and Servicing Agreement dated as of January 8, 2002 (the “RPSA”) and

 its officers, directors, employees, attorneys, agents and representatives (collectively “GECC”) a

 super-priority administrative claim, pursuant to Section 507(b) of the Bankruptcy Code, pari

 passu with the Pre- Petition Lenders’ super-priority administrative claim, in the amount of

 GECC’s contingent indemnification claims against Receivables Subsidiary and the Debtor-

 Originators in exchange for agreeing to the termination of Receivables Subsidiary Securitization

 Documents (as defined in the Motion) (which, as set forth in the Motion, is an essential condition

 to the debtor-in-possession financing to be provided by the DIP Lenders); and

        5)      granting any further and related relief as the Court deems just and equitable.

        A hearing with respect to the Motion was held (the “Interim Hearing”) and, on April 11,

 2005, an interim order was entered (the “Interim Order”) granting on an interim basis, the relief




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 sought in the Motion. The Interim Order was subsequently extended by stipulated orders dated

 May 25, 2005 and June 22, 2005, respectively. The Court has (i) completed a Second Interim

 Hearing on the Motion, (ii) considered the Objections, if any, filed with respect to the Motion,

 the arguments of counsel, the record before it and all relevant matters related thereto, and

 (iii) been fully advised in the premises.

        Upon the record of the Chapter 11 Cases and the record of the Second Interim Hearing,

 good and sufficient cause appearing therefor, and it appearing to be in the best interests of the

 Debtors’ estates and creditors;

        AND THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

 CONCLUSIONS OF LAW:

        A.      On the Petition Date, each of the Debtors filed voluntary petitions under the

 Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Ohio,

 Western Division (the “Bankruptcy Court”). Each Debtor is continuing in the management and

 possession of its business and properties as a debtor-in-possession pursuant to Sections 1107 and

 1108 of the Bankruptcy Code.

        B.      Consideration of this Motion constitutes a “core proceeding” as defined in 28

 U.S.C. §§ 157(b)(2)(A), (D), (G), (K), (M) and (O). This Court has jurisdiction over this

 proceeding and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334.

        C.      Sufficient and adequate notice of this Second Interim Order has been provided to

 the Noticed Parties (defined below) by the DIP Lenders and the Pre-Petition Lenders, pursuant to

 Bankruptcy Rules 2002, 4001(c) and (d) and 9014 and Section 102(1) of the Bankruptcy Code,

 as required by Sections 363(b) and 364(c) and 364(d) of the Bankruptcy Code, and no further

 notice of the Motion or this Second Interim Order is necessary or required.




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        D.     The DIP Lenders are willing to advance monies to the Debtors, and the Pre-

 Petition Agent is willing to consent to the use of Cash Collateral (as defined below) only upon

 the conditions contained in this Second Interim Order.

        E.     GECC has been paid in full of all amounts owing to GECC with respect to the

 RPSA (the “GECC Repurchase Price”).              The Debtors have affirmed the contingent

 indemnification obligations of the Debtor-Originators owed to GECC under Article XII of the

 RPSA and Article V of the Receivables Sale Agreement dated January 8, 2002 (“RSA”) (such

 contingent indemnification obligations, whether incurred before or after the Petition Date,

 collectively, the “Indemnification Obligations”). The Debtors have affirmed their obligations to

 pay all fees, costs and expenses (including, without limitation, fees, costs and expenses of

 counsel and other advisors), owed to GECC under Section 14.04 the RPSA and Section 8.14 of

 the RSA (such obligations, whether incurred before or after the Petition Date, collectively, the

 “Expense Reaffirmation”).     GECC has consented to the transactions contemplated in the

 Receivables Repurchase Documents and this Second Interim Order.

        F.     The transactions contemplated in the RPRA (the “Receivables Purchase”) have

 been consummated and, all cash held and thereafter that shall be held in the following accounts:

 (i) Account No. 4000627434, (ii) Account No. 4003110537, (iii) Account No. 4003110553, (iv)

 Account No. 4003110545, and (v) Account No. 4003110588 and any account used for collection

 of Receivables (as defined in the Pre-Petition Credit Agreement) (collectively, the “Collection

 Accounts”), maintained at PNC Bank, N.A. (“PNC Bank”) in the name of Receivables

 Subsidiary is and shall be property of the Debtors' estates within the meaning of Section 541 of

 the Bankruptcy Code.




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        G.      The Debtors are unable to obtain sufficient levels of unsecured credit allowable

 under Bankruptcy Code § 503(b)(1) as an administrative expense necessary to maintain and

 conduct their businesses.

        H.      The Debtors are unable to obtain the necessary financing: (i) as unsecured credit

 allowable under Sections 364(a), (b) or (c)(1) of the Bankruptcy Code; or (ii) as secured credit

 pursuant only to Sections 364(c)(2) and (3) and (d) on more favorable terms than those offered

 by DIP Lenders or provided in this Second Interim Order.

        I.      The credit and financial accommodations to be extended under the DIP Credit

 Facility are being extended by the DIP Lenders in good faith; and the conditions required by the

 Pre-Petition Lenders in connection with the Adequate Protection Claim (as hereinafter defined)

 and the conditions required by GECC in connection with the Receivables Purchase, including the

 use of Cash Collateral, are made in good faith; and the DIP Lenders and the Pre-Petition Lenders

 are entitled to the protection of Bankruptcy Code § 364(e) and GECC is entitled to the protection

 of Bankruptcy Code § 507(b).

        J.      It is in the best interests of the Debtors’ estates that they be allowed to finance

 their operations under the terms and conditions set forth herein.

        K.      Notice of the relief sought by the Motion, and the Second Interim Hearing with

 respect thereto, pursuant to Bankruptcy Rules 2002, 4001(c) and 6004, Local Bankruptcy Rules

 4001-2 and 4001-3 and Bankruptcy Code § 102(1), as required by Bankruptcy Code §§363(b),

 364(c) and (d), has been given to the following parties in interest: the U.S. Trustee, the DIP

 Agent, the DIP Lenders, the Pre-Petition Agent, the Pre-Petition Lenders and their respective

 counsel, the Internal Revenue Service, Wells Fargo Bank, National Association as Indenture

 Trustee for Holdings’ 9-3/4% Senior Notes, GECC, counsel for the Committee of Unsecured




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 Creditors (the “Creditors Committee” or the “Committee”); and any other parties that have

 properly requested notice under Bankruptcy Rule 2002 (“Noticed Parties”).

        L.      An Interim Hearing having been held, the Court entered the Interim Order under

 11 U.S.C. §§ 105(a), 361 362, 363 and 364, Federal Bankruptcy Rules 2002, 4001, 6004 and

 9014 and Local Bankruptcy Rules 4001-2 and 4001-3: (i) authorizing Debtors to (a) purchase

 accounts receivable of EaglePicher Funding Corporation; (b) obtain secured post-petition

 financing; and (c) use cash collateral; (ii) granting adequate protection; (iii) modifying the

 automatic stay; and (iv) setting final hearing; and (v) granting related relief.

        M.      Without prejudice to the rights of any party (but subject to the limitations with

 respect to such rights contained in paragraph 15 of this Second Interim Order), the Debtors admit

 that as of the Petition Date, under that certain Credit Agreement dated as of August 7, 2003 as

 amended and restated (the ”Pre-Petition Credit Agreement”) among Holdings, EPI, the lenders

 parties thereto (the “Pre-Petition Lenders”), and Harris N.A. successor by merger to Harris

 Trust and Savings Bank, as Administrative Agent (the “Pre- Petition Agent”) (the Pre-Petition

 Credit Agreement and the other documents and instruments (including those evidencing the Pre-

 Petition Lenders’ liens and security interests) executed and delivered in connection therewith

 being referred to as the “Pre-Petition Loan Documents”): (1) the Company was indebted to the

 Pre-Petition Lenders in the aggregate amount of not less than $251,300,000, plus accrued

 interest, costs, expenses and other charges thereon, including without limitation, all attorneys

 fees and legal expenses of the Pre-Petition Lenders, in respect of loans, advances and other

 financial accommodations (including but not limited to Letters of Credit) made by the Pre-

 Petition Lenders to the Debtors in accordance with the Pre-Petition Loan Documents

 (collectively, the “Pre-Petition Obligations”), and the Pre-Petition Lenders assert that the Pre-

 Petition Obligations are without claim, defense, counterclaim, recoupment or offset of any kind;




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 (2) the Pre-Petition Lenders assert that the Pre-Petition Obligations are secured by valid, binding

 enforceable and properly perfected first priority liens and mortgages on and security interests in

 all of the Collateral as defined in the Pre-Petition Loan Documents existing as of the time

 immediately prior to the filing of the petitions for relief herein and the post-petition proceeds and

 products thereof (the “Pre-Petition Collateral”); and (3) on information and belief, the going

 concern value of the Pre-Petition Collateral exceeded the amount of the Pre-Petition Obligations

 on the Petition Date.

        N.      The Debtors represent as follows:

        i.      that without the financing proposed by the Motion, the Debtors will not have the

 funds necessary to pay post-petition payroll, payroll taxes, trade vendors, suppliers, overhead

 and other expenses necessary for the continued operation of the Debtors’ businesses and the

 management and preservation of the Debtors’ assets and properties. The Debtors have requested

 that, pursuant to the DIP Financing Documents and this Second Interim Order, the DIP Lenders

 make loans and advances and provide other financial accommodations to the Debtors to be used

 by the Debtors solely for the purposes set forth on the Budget, Exhibit A, hereto; provided

 however, that the loans are also to be used to fund (i) the purchase in full, from GECC, of the

 SPV Reconveyed Property in connection with the Receivables Purchase, (ii) the Indemnification

 Obligations (which indemnification obligations, by their terms, expressly survive termination of

 the RPSA and are herein re-affirmed by the Debtors) and (iii) the expenses re-affirmed pursuant

 to the Expense Reaffirmation (which obligations, by their terms, expressly survive termination of

 the RPSA and are herein re-affirmed by the Debtors), whether incurred before or after the

 Petition Date. The ability of the Debtors to continue their businesses and reorganize under

 Chapter 11 of the Bankruptcy Code depends upon the Debtors obtaining such financing. The DIP

 Lenders are willing to make such loans and advances and provide such other financial




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 accommodations on a secured basis, as more particularly described herein, pursuant to the terms

 and conditions of the DIP Financing Documents and in accordance with this Interim Order.

 Accordingly, the relief requested in the Motion is necessary, essential and appropriate for the

 continued operation of the Debtors’ businesses, the management and preservation of their assets

 and properties, and is in the best interests of the Debtors, their estates and creditors;

        ii.     they are unable to obtain unsecured credit (A) allowable under Section 503(b)(1)

 of the Bankruptcy Code or pursuant to Sections 364(a), (b) or (c)(1) of the Bankruptcy Code, or

 (B) secured credit pursuant to Sections 364(c)(2) and (3) on more favorable terms than those

 offered by the DIP Lenders or provided in this Second Interim Order;

        iii.    the terms of the DIP Financing Documents, pursuant to which the postpetition

 loans, advances, letters of credit and other credit and financial accommodations will be made or

 provided to Debtors by DIP Lenders have been negotiated at arms’ length and in good faith, as

 that term is used in Section 364(e) of the Bankruptcy Code, and are in the best interests of the

 Debtors, their estates and creditors. The Debtors further represent that DIP Lenders are

 extending financing to the Debtors in good faith and DIP Lenders are entitled to the benefits of

 the provisions of Section 364(e) of the Bankruptcy Code;

        iv.     the relief requested by the Motion is necessary to avoid immediate and irreparable

 harm to their estates. Good, adequate and sufficient cause has been shown to justify the granting

 of the relief requested herein, and the immediate entry of this Second Interim Order.

        AND THE COURT HEREBY FURTHER FINDS AND DETERMINES THAT:

        P.      Neither the DIP Lenders nor the Pre-Petition Lenders control the operations of

 any Debtor.

        Q.      Good and sufficient cause exists for the issuance of this Second Interim Order, to

 prevent irreparable harm to the Debtors’ estates;




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        NOW, THEREFORE, IT IS HEREBY ORDERED:

        1.      The Motion is granted in its entirety on an interim basis with all of the terms and

 protections to be provided as set forth herein with a final hearing to be held on August 23, 2005

 at 10:00 a.m. in the Court’s regular courtroom (the “Final Hearing”). Subject to Section 364(e)

 of the Bankruptcy Code, the rights and objections of the Committee and the parties in interest are

 reserved pending the Final Hearing.

        2.      The consummation by the Debtors of the purchase of the Reconveyed Property

 pursuant to the terms of the Receivables Repurchase Documents is hereby approved. The

 transaction represents a sound exercise of Debtors’ business judgment and is in the best interests

 of the Debtors, their creditors, their estates, and other parties in interest. The Debtors have

 demonstrated both (i) sufficient and sound business purposes for the purchase of the Receivables

 and (ii) compelling circumstances for such purchase to be approved in connection with the

 approval of the DIP Credit Facility.

        3.      The purchase price paid by the Debtor-Originators for the Reconveyed Property is

 an amount equal to the GECC Repurchase Price plus, to the extent required, certain additional

 amounts payable to satisfy the Indemnification Obligations and the Expense Reaffirmation

 (which obligations expressly survive the termination of the RPSA and are herein re-affirmed by

 the Debtors) whether incurred prior to or after the Petition Date. In exchange for the purchase

 price under the Receivables Repurchase Documents, the Debtor-Originators acquired assets

 having a value materially greater than such purchase price. Consequently, the Receivables

 Purchase is a transaction that benefits the Debtors, their creditors, their estates and other parties

 in interest. No holder of a claim against Receivables Subsidiary is prejudiced by the Receivables

 Purchase because all creditors of the Receivables Subsidiary have consented to the Receivables

 Purchase pursuant to the terms of this Second Interim Order.




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        4.     The Debtors are hereby authorized to borrow funds from, obtain letters of credit

 from, and incur debt to the DIP Lenders in an amount up to $65,000,000, pursuant to and in

 accordance with the terms and conditions of the DIP Credit Facility, from and after the date of

 this Second Interim Order, whether prior or subsequent to the execution and delivery of the DIP

 Financing Documents, and consistent, in amount and type of expenditure, with the Budget,

 Exhibit A hereto; provided however, that the loans or Cash Collateral are also to be used to fund

 (i) the Receivables Purchase, (ii) the Indemnification Obligations (which indemnification

 obligations, by their terms, expressly survive termination of the RPSA and are herein re-affirmed

 by the Debtors) and (iii) the expenses re-affirmed pursuant to the Expense Reaffirmation (which

 obligations, by their terms, expressly survive termination of the RPSA and are herein re-affirmed

 by the Debtors), whether incurred before or after the Petition Date. The proposed borrowings and

 other extensions of credit under the DIP Financing Documents are hereby approved. The DIP

 Agent and the DIP Lenders shall have the rights and the obligations set forth in the DIP

 Financing Documents to make loans, advances and/or financial accommodations pursuant to the

 terms and conditions thereof. The Budget may, without further approval of the Court but subject

 to the agreement and approval of the DIP Lenders, be supplemented or extended so long as

 changes do not vary materially from Exhibit A, but any material variances thereto shall be

 subject to approval of the Court and the agreement and approval of the DIP Lenders.

        5.     The Debtors shall not apply for or obtain letters of credit from any institution or

 entity other than the DIP Lenders.

        6.     For any and all obligations of the Debtors to the DIP Agent and/or the DIP

 Lenders under and in the DIP Financing Documents, arising after the date of this Second Interim

 Order (the “Post-Petition Obligations” or “DIP Credit”), and in addition to the rights granted

 below, subject to the Carve-Out, the DIP Lenders are granted an allowed super-priority




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 administrative claim in accordance with Section 364(c)(1) of the Bankruptcy Code having a

 priority in right of payment over any and all other obligations (including the Pre-Petition

 Obligations to the Pre-Petition Lenders, which for avoidance of doubt are not entitled to

 treatment as a super-priority administrative claim except to the extent of any Adequate

 Protection Claim (as defined below) for diminution in value or as adequate protection for

 priming by the DIP Credit Facility), liabilities and indebtedness of the Debtors, now in existence

 or hereafter incurred by the Debtors and over any and all administrative expenses or priority

 claims of any kind including as specified in, or ordered pursuant to, Sections 105, 326, 330, 331,

 503(b), 506(c), 507(a) or 507(b) of the Bankruptcy Code, whether arising in the Debtors’

 Chapter 11 Cases or in any superseding Chapter 7 cases.

        7.      Pursuant to Bankruptcy Code §§ 362, 363(e) and 364(c) and (d), as security for

 the prompt payment and performance of any and all Post-Petition Obligations incurred by one or

 more of the Debtors, individually or collectively, to the DIP Lenders of whatever nature or

 description, the Debtors are hereby authorized to grant to the DIP Agent for the pro rata benefit

 of the DIP Lenders, valid, binding, enforceable and perfected first priority liens, mortgages and

 security interests, superior to all other creditors of the Debtors’ estates, in and to all of the

 Debtors’ presently owned or hereafter acquired property and assets, whether such property and

 assets were acquired by the Debtors before or after the Petition Date, of any kind or nature,

 whether real or personal, tangible or intangible, wherever located, including, without limitation:

 real property (including without limitation all leasehold interests, mineral leases and mineral and

 water rights), accounts, including but not limited to the Reconveyed Property, deposit accounts

 (including but not limited to the accounts set forth on Exhibit B to this Second Interim Order,

 inventory, equipment, rolling stocks (including titled and untitled vehicles), cash, cash

 equivalents, general intangibles (including intellectual property, trademarks, trade names,




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 interests in partnerships, joint ventures, investment properties, letter of credit rights, right to

 receive payments under any government contract, supporting obligations, commercial tort

 claims, deposit accounts and investment property, securities and any bankruptcy-related causes

 of action and recoveries thereunder, including but not limited to all causes of action under

 Chapter 5 of the Bankruptcy Code and recoveries thereunder, including § 506(c), §§ 544 through

 550 and § 553 or other applicable law (collectively, “Avoidance Actions”), but excluding any

 foreign assets that by law are not subject to the Bankruptcy Court’s jurisdiction (the “Excluded

 Assets”) (collectively, the “Post-Petition Collateral” or the “Collateral”), subject only to the

 Carve-Out (as hereinafter defined) and permitted liens and security interests which (i) existed

 and are valid, fully perfected and enforceable on the Petition Date (other than liens and security

 interests in Pre-Petition Collateral in connection with the Pre-Petition Loan Documents) and (ii)

 are not avoidable under Chapter 5 of the Bankruptcy Code or applicable state law (hereinafter

 referred to as “Permitted Liens”).

        8.      As adequate protection for any post-petition diminution in value of the Pre-

 Petition Lenders’ interests in the Pre-Petition Collateral, including without limitation for any

 diminution in value caused by the Debtors’ post-petition use of the Pre-Petition Collateral,

 including Cash Collateral, as such term is defined in Bankruptcy Code § 363(a) (“Cash

 Collateral”), the Pre-Petition Agent for the ratable benefit of each Pre-Petition Lender is hereby

 granted a joint and several post-petition claim in the amount of the diminution in value of the

 Pre-Petition Lenders’ interest in Pre-Petition Collateral (the “Adequate Protection Claim”)

 against the Debtors’ estates. The Adequate Protection Claim is limited to the diminution in

 value (to the fullest extent of the meaning of that phrase as it is defined under the Bankruptcy

 Code and applicable law) in the Pre-Petition Collateral. In order to secure such Adequate

 Protection Claim, the Pre-Petition Agent for the benefit of the Pre-Petition Lenders is hereby




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 granted a first priority security interest in and a lien upon (collectively, the “Replacement

 Liens”) upon (x) the Pre-Petition Collateral and all post-petition proceeds of the Pre-Petition

 Collateral, and (y) the Post-Petition Collateral and all proceeds thereof, subject only to (1)

 Permitted Liens, (2) the Carve-Out, (3) the liens granted to the DIP Agent pursuant to Section

 364 of the Bankruptcy Code, and (4) the liens and security interests existing on the Petition Date

 in favor of the Pre-Petition Agent. To further provide adequate protection for the Adequate

 Protection Claim, the Pre-Petition Lenders are granted an allowed super-priority administrative

 claim in accordance with Section 507(b) of the Bankruptcy Code having a priority, which is pari

 passu with GECC Super-Priority Claim (as defined below) and is superior in right of payment

 over any and all other obligations, liabilities and indebtedness of the Debtors, now in existence

 or hereafter incurred by the Debtors and over any and all administrative expenses or priority

 claims of any kind including as specified in, or ordered pursuant to §§ 326, 330, 331, 503(b),

 507(a) or 507(b) of the Bankruptcy Code, arising in the Debtors’ Chapter 11 cases, but subject to

 the Carve Out and the super-priority administrative claim granted to the DIP Lenders. As further

 adequate protection, the Debtors are hereby ordered to pay to the Pre-Petition Agent for the

 ratable account of the Pre-Petition Lenders (a) on the closing date of the DIP Credit Facility (the

 “Closing Date”) all interest and expenses (including but not limited to all fees and expenses of

 the Pre-Petition Agent and its professionals) accrued on the Pre-Petition Obligations to that date,

 (b) thereafter, pay interest monthly in arrears at the non-default rate set forth in the Pre-Petition

 Loan Documents, and (c) subject to the reservation of rights set forth below, accrue monthly the

 difference between the default rate and nondefault rate to be payable on the earlier of (i) the

 Termination Date or (ii) payment in full of the Pre- Petition Obligations. The Debtors, the

 Committee and other parties in interest reserve fully their rights to contest the Pre-Petition

 Lenders’ right to accrue and receive payment on the application of the incremental default rate




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 (with the Pre-Petition Lenders reserving all rights to receive such incremental default rate of

 interest) for default interest otherwise accruing on and after July 26, 2005.

        9.      The Receivables Repurchase has been consummated and the Reconveyed

 Property is deemed Collateral under (and subject to) the terms of this Second Interim Order. The

 DIP Agent has a first senior, fully perfected lien and security interest in the Reconveyed Property

 and all lock boxes or accounts into which Receivables (as defined in the Pre-Petition Loan

 Agreement) have been, are or will be collected or deposited including without limitation

 accounts previously owned by Receivables Subsidiary. Such accounts shall be hereafter deemed

 to be owned by the respective Debtor-Originators of the Receivables, subject to the first senior

 lien of the DIP Agent for the DIP Lenders.

        10.     In consideration for the consensual release and discharge of the liens and security

 interests of GECC in the SPV Reconveyed Property granted to GECC and the termination of the

 Receivables Subsidiary Securitization Documents as contemplated by the RPRA, the Debtors re-

 affirm the Indemnification Obligations and Expense Reaffirmation. Amounts owed by the

 Debtors with respect to the Indemnification Obligations and Expense Reaffirmation shall be

 entitled to and shall constitute a super-priority administrative expense claim under Section

 507(b) of the Bankruptcy Code (the “GECC Super-Priority Claim”). The GECC Super-Priority

 Claim shall be pari passu in priority to the super-priority claim provided to the Pre-Petition

 Lenders under Section 507(b) of the Bankruptcy Code but shall be junior in priority and

 subordinate to (i) the super-priority claim provided to the DIP Agent for the benefit of the DIP

 Lenders and (ii) the Carve-Out (as defined below).

        11.     Notwithstanding any contrary provision of this Second Interim Order or the DIP

 Financing Documents, the liens and super-priority claims granted to the DIP Lenders, the Pre-

 Petition Lenders and the GECC Super-Priority Claim shall be subject and subordinate to,




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 following the occurrence and during the pendency of a Carve-Out Event (as defined below), (a) a

 carve-out of $2.75 million for the allowed fees and expenses of the Debtors’ professionals (other

 than Debtors’ ordinary course professionals) and the Committee and its professionals retained

 prior to the Termination Date; (b) quarterly fees required to be paid pursuant to 28 U.S.C. §

 1930(a)(6); and (c) any fees payable to the Clerk of the Bankruptcy Court and any agent thereof,

 plus all fees and expenses of the kind described in the foregoing clauses (a), (b) and (c) of this

 paragraph incurred prior to a Carve-Out Event (as defined below) but not yet paid to the extent

 such fees and expenses are approved by the Bankruptcy Court (collectively, the “Carve-Out”)

 subject to the right of the DIP Agent, the DIP Lenders, the Pre-Petition Lenders, GECC, the Pre-

 Petition Agent, the U.S. Trustee, and any other party in interest to object to the award of any

 such fees and expenses.

        12.     Prior to the Termination Date (as defined in the Post-Petition Credit Agreement),

 the Debtors shall be permitted to pay compensation and reimbursement of expenses authorized to

 be paid under Bankruptcy Code §§ 330 and 331 or otherwise pursuant to an order of this Court,

 as the same may be due and payable, and such payments shall not reduce the Carve-Out subject

 to the rights of the DIP Lenders, DIP Agent, the Pre-Petition Lenders, the Pre-Petition Agent, the

 U.S. Trustee, and any other party in interest to object to such payments. Upon the Termination

 Date and notice by the DIP Agent to the Debtors (the “Carve-Out Event Notice”), the right of

 the Debtors to pay professional fees outside the Carve-Out shall terminate (a “Carve-Out

 Event”), and, upon such occurrence, the Debtors, after receipt of the Carve-Out Event Notice

 from the DIP Agent, shall provide immediate notice by facsimile to all professionals whose fees

 and expenses are included within the Carve-Out informing them that a Carve-Out Event has

 occurred and further advising them that the Debtors’ ability to pay professionals is subject to the

 Carve-Out.




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        13.     The Pre-Petition Lenders and Pre-Petition Agent assert under the facts and

 circumstances of this case that there is no basis for a recovery under § 506(c) of the Bankruptcy

 Code, and the Debtors waive any § 506(c) claim against the Pre-Petition Agent and Pre-Petition

 Lenders and DIP Agent and DIP Lenders.

        14.     Each Debtor agrees (i) not to contest any Defaults or Events of Default which

 were or could have been declared by the Pre-Petition Agent as of the Petition Date; (ii) not to

 contest any provisions of the Pre-Petition Loan Documents; (iii) not to contest the amount of the

 Debtors’ indebtedness to the Pre-Petition Agent and the Pre-Petition Lenders as of the Petition

 Date except with respect to any mathematical error; (iv) not to contest the conduct of the Pre-

 Petition Agent or the Pre- Petition Lenders in administering the Pre-Petition Loan Documents;

 (v) not to contest the validity of the transactions related to the RPSA and the termination thereof

 or to contest the conduct of GECC with respect to transactions related to the RPSA or the

 termination thereof; and (vi) not to assert any claims or make any demands against the Pre-

 Petition Agents and/or the Pre-Petition Lenders or GECC with respect to lender liability theories

 and pursuant to Sections 510, 544, 547, 548 and 549 of the Bankruptcy Code.

        15.     For purposes of this Second Interim Order, each Debtor agrees not to contest or to

 challenge that the mortgages, liens and security interests granted to the Pre-Petition Agent for the

 ratable benefit of the Pre-Petition Lenders under the Pre-Petition Financing Agreements are

 senior, valid, fully perfected, non-avoidable and enforceable mortgages, security interests and

 liens fully securing the Pre-Petition Indebtedness (the “Lien Finding”). The Committee, any

 other committee appointed by the U.S. Trustee, or any other party with standing, excluding only

 the Debtors, has the right to challenge the Lien Finding on or before August 19, 2005 by filing a

 pleading in these chapter 11 cases (and serving a copy on counsel for Harris N.A.) describing the

 nature of the challenge(s) to the Lien Finding; in the absence of the timely filing of such




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 pleading or providing a letter to Debtors’ counsel and counsel to the Pre-Petition Lenders

 (“Letter”) and in the absence of listing such collateral in a pleading or Letter as subject to an

 objection or challenge such party shall be forever barred from challenging the validity, priority

 and enforceability of the Pre-Petition Lenders’ liens and the Lien Finding. The DIP Lenders and

 Pre-Petition Lenders have consented to use of Loan proceeds or Cash Collateral to pay costs of

 Committee’s professionals in connection with any investigation of the Lien Finding but have not

 consented to the use of the proceeds of DIP Credit Facility or Cash Collateral to be used to

 pursue or prosecute any claim or cause of action against DIP Agents, DIP Lenders, Pre-Petition

 Agent and Pre-Petition Lenders or any of their successors, assigns or advisors for any reason.

        16.     So long as there are any Obligations outstanding to the DIP Lenders under the

 DIP Credit Facility and until the Adequate Protection Claim is satisfied, unless the DIP Agent

 and the Pre-Petition Agent shall have given their prior written consent, or this Court enters an

 order, upon proper notice to the DIP Agent and the Pre-Petition Agent and after a hearing,

 requiring that all the Debtors’ Obligations to the DIP Lenders and the Adequate Protection Claim

 be immediately satisfied in full, the Debtors shall neither seek any further orders in the Debtors’

 Chapter 11 Cases, nor support any applications therefor, which authorize: (a) under Bankruptcy

 Code § 363, the use of cash collateral in which the DIP Agent or the Pre-Petition Agent has an

 interest, or the sale, use, or lease, other than in the ordinary course of business, of other property

 of the Debtors in which the DIP Agent or the Pre-Petition Agent has an interest; (b) except for a

 financing that will satisfy all Obligations outstanding to DIP Agent, DIP Lenders and the

 Adequate Protection Claim and in the good faith judgment of the Debtors’ provide adequate

 protection for the rights and interests of the Pre-Petition Lenders, the obtaining of credit or the

 incurring of indebtedness pursuant to Bankruptcy Code §§ 364(c) or (d), or any other grant of

 rights against the Debtors and/or their estates, secured by a lien, mortgage or security interest in




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 the Post-Petition Collateral held by the DIP Agent or the Pre-Petition Agent or entitled to

 priority administrative status which is junior, equal or superior to that grant to the DIP Agent, the

 DIP Lenders or the Pre-Petition Lenders (with respect to the Replacement Liens) herein; or (c)

 the return of goods by the Debtors pursuant to Bankruptcy Code § 546(c).

        17.     In addition to any rights granted to the DIP Agent and DIP Lenders under the DIP

 Credit Facility, and to the Pre-Petition Agent and Pre-Petition Lenders under this Second Interim

 Order after the Court’s approval thereof, the DIP Agent for the ratable benefit of the DIP

 Lenders and the Pre-Petition Agent for the ratable benefit of the Pre-Petition Lenders (as

 applicable) shall be entitled to charge the Debtors’ accounts wherever located or receive

 reimbursement thereof, without application to the Court, for: (a) all of the DIP Agent’s and the

 DIP Lenders’ reasonable fees and expenses, their reasonable attorneys’ fees and legal expenses,

 and their other advisors’ or professionals’ reasonable fees and expenses, all such fees and

 expenses arising from or related to the DIP Credit Facility or any actions taken in connection

 with the Chapter 11 Cases, including without limitation the negotiating, closing, documenting

 and obtaining of Court approval thereof, and all proceedings in connection with the

 interpretation, amendment, modification, enforcement or carrying out of the DIP Credit Facility

 or this Second Interim Order at any time, and all reasonable expenses, costs and charges in any

 way or respect arising in connection therewith or related thereto; (b) all of the Pre-Petition

 Agent’s and the Pre-Petition Lenders’ reasonable fees and expenses, their reasonable attorneys’

 fees and legal expenses, and their other advisors’ or professionals’ reasonable fees and expenses,

 all such fees and expenses arising from or related to the Pre-Petition Loan Documents, the

 Adequate Protection Claim or any action taken in connection with the Chapter 11 Cases,

 including without limitation the negotiating and obtaining of Court approval thereof and

 proceedings in connection with the interpretation, amendment, modification, enforcement or




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 carrying out of the Pre-Petition Loan Documents or the Adequate Protection Claim or this

 Second Interim Order at any time, and all reasonable expenses, costs and charges in any way or

 respect arising in connection therewith or related thereto; and (c) all of the DIP Agent’s facility,

 administrative and filing fees, recording taxes and fees, title insurance premiums and fees,

 reasonable internal examination and audit expenses; and such fees and expenses in the foregoing

 subparagraphs (a), (b) and (c) (collectively, the “Reimbursable Fees”) shall be funded through

 loans under the DIP Credit Facility, charged to the Debtors’ account and shall constitute a part of

 the Debtors’ Obligations but shall not constitute an item paid in accordance with the Budget. The

 Debtors are also authorized and ordered to pay all fees related to the Expense Reaffirmation

 (regardless of whether incurred pre-petition or post-petition) upon demand without further order

 of this Court.

        18.       The Debtors, at their expense, shall (a) continue to at all times keep the Collateral

 fully insured against all loss, peril and hazard and make the DIP Agent and the Pre-Petition

 Agent co-insured and loss payee as their interests appear under such policies, and (b) pay any

 and all post-petition taxes, assessments and governmental charges with respect to such

 Collateral, all as provided under the DIP Credit Facility, and will provide the DIP Agent and the

 Pre-Petition Agent with proof thereof upon written demand and will give the DIP Agent and the

 Pre-Petition Agent access to their records in this regard.

        19.       In accordance with the provisions of the Post-Petition Credit Agreement and this

 Second Interim Order, if required by the DIP Agent, Debtors are authorized and directed to

 remit, in kind, immediately to the DIP Agent, all monies, checks, drafts and any other payments

 or collections received from its account debtors and other parties, now or hereafter obligated to

 pay Debtors or any prior existing securitization for services provided by Debtors or for inventory

 or other property of Debtors’ estates. DIP Lenders are authorized to apply such payments and




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 proceeds received by Debtors to the Obligations in accordance with the DIP Financing

 Documents and this Second Interim Order. The Debtors are hereby authorized to open accounts

 at Harris N.A. to effectuate the purposes of this Second Interim Order, cash management and the

 perfection of the security interests and liens granted by this Second Interim Order to the DIP

 Agent and Pre-Petition Agent for the respective DIP Lenders and Pre-Petition Lenders.

        20.     The automatic stay provisions of Bankruptcy Code § 362 are hereby modified to

 permit (a) the Debtors to implement the terms of the DIP Credit Facility, (b) the Debtors to grant

 the Replacement Liens as adequate protection to the Pre-Petition Agent for the benefit of the

 Pre-Petition Lenders, (c) the Debtors to create, and the DIP Agent or the Pre-Petition Agent, as

 the case may be, to perfect, any and all liens, mortgagees and security interests granted to it

 hereunder; provided, however, that neither the DIP Agent nor the Pre-Petition Agent shall be

 required to file UCC financing statements or other instruments with any other filing authority to

 perfect any lien, mortgage or security interest granted by this Second Interim Order or take any

 other action to perfect such liens, mortgages and security interests, such perfection of liens,

 mortgages and security interests are hereby deemed perfected; if, however, the DIP Agent or the

 Pre-Petition Agent, as the case may be, shall, in its sole discretion, elect for any reason to file,

 record or serve any such financing statements or other documents with respect to such liens and

 security interests, the Debtors shall execute the same upon request and the filing, recording or

 service thereof (as the case may be) shall be deemed to have been made at the time and on the

 date required to implement the priority of such liens and security interests as provided in this

 Second Interim Order.

        21.     The time of payment of any and all Post-Petition Obligations of the Debtors

 arising out of or incurred pursuant to the DIP Credit Facility shall not be altered, extended or




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 impaired by any plan or plans of reorganization that may hereafter be accepted or confirmed or

 any further orders of the Court which may hereafter be entered.

        22.     Any and all Post-Petition Obligations of one or more of the Debtors arising out of

 or incurred pursuant to the DIP Credit Facility shall be immediately due and payable, the DIP

 Lenders shall have no obligation to make loans and/or advances to the Debtors, and the DIP

 Credit Facility shall terminate, upon the occurrence of the earlier of: (1) the Maturity Date

 provided for in the Post- Petition Credit Agreement (the “Maturity Date”); or (2) any of the

 following events (“Terminating Events” or “Termination Event”):

        (a)     any of the Chapter 11 Cases is either dismissed or converted to a case under

 Chapter 7 of the Bankruptcy Code;

        (b)     a trustee or an examiner with the expanded powers of a trustee is appointed in any

 of the Chapter 11 Cases;

         (c)    any plan of reorganization of the Debtors is confirmed which does not provide for

 the payment in full of the Post-Petition Obligations upon the effective date of the plan, unless

 each DIP Lender as to itself shall otherwise consent in writing;

        (d)     other than as contemplated in the Budget, any of the Debtors ceases operation of

 any of its businesses or takes any material action for the purpose of effecting the foregoing

 without the prior written consent of the DIP Agent;

        (e)     this Second Interim Order is reversed, vacated, stayed, amended, supplemented or

 otherwise modified in a manner which shall materially and adversely affect the rights of the DIP

 Agent and/or the DIP Lenders hereunder or shall materially and adversely affect the priority of

 any or all of the DIP Agent’s and/or the DIP Lenders’ claims, liens or security interests and

 which is not acceptable to the DIP Agent;

        (f)     the occurrence of an Event of Default under the DIP Financing Documents;




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          (g)   material non-compliance or default by the Debtors with any of the terms and

 provisions of this Second Interim Order;

          (h)   any sale of Post-Petition Collateral is approved without the consent of the DIP

 Agent;

          (i)   other super-priority claim or lien equal or superior in priority to that granted

 pursuant to this Second Interim Order or permitted hereunder shall be granted;

          (j)   an examiner having enlarged powers under Section 1106(b) of the Bankruptcy

 Code shall be appointed for any of the Debtors; or

          (k)   the automatic stay of Bankruptcy Code Section 362 is lifted so as to allow a party

 other than the DIP Lenders to proceed against any material asset of the Debtors.

          (l)   A final order approving DIP Financing acceptable to the DIP Agent and the

 Debtors is not entered by August 30, 2005.

          23.   Upon the occurrence of a Terminating Event:

          (a)   the Debtors shall immediately segregate all of the Post-Petition Collateral,

 including without limitation cash collateral, and shall not be permitted to borrow funds

 hereunder absent the DIP Agent’s prior written consent provided, however, that the Debtor shall

 be permitted to use Cash Collateral in the blocked account that was established pursuant to

 paragraph 30 consistent with the Budget for three (3) business days after the Terminating Event;

 and

          (b)   the DIP Agent shall have the right, free of the restrictions of Bankruptcy Code §

 362, (1) to take immediate reasonable action to protect and preserve the Collateral, and (2) after

 giving three (3) business days’ prior written notice of a Terminating Event to the Debtors, the

 Office of the U.S. Trustee, and the Committee by the DIP Agent (the “Termination Notice”), to

 exercise its rights and remedies pursuant to the DIP Credit Facility and/or applicable law as to all




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 or such part of the Post-Petition Collateral as the DIP Agent, in its sole discretion, shall elect,

 unless, prior to the passage of such three (3) business days, the Maturity Date shall not have

 occurred and the Court shall have entered an order limiting or restraining the DIP Agent from

 exercising any or all such rights and remedies; provided nothing contained herein shall waive,

 limit, or impair the DIP Agent and DIP Lenders’ ability to (i) contest on any basis the entry of

 such order and, (ii) subject to any final and appealable order of the Court to the contrary, assert

 or pursue their rights and remedies hereunder and under the DIP Financing Documents.

        25.     Nothing in this Second Interim Order shall limit the rights of the Pre-Petition

 Lenders or the DIP Lenders to seek further relief (including additional adequate protection), or

 modification or termination of the automatic stay in accordance with Bankruptcy Code § 362(d).

        26.     Nothing in this Second Interim Order shall limit the rights of any Pre-Petition

 Lender or any DIP Lender to assign all of its rights, claims and Obligations under the DIP

 Financing Documents or the Pre-Petition Financing Documents.

        27.     The Debtors shall provide the DIP Agent and Pre-Petition Agent with such

 written reports, certified by the president, vice-president or chief financial officer of the relevant

 Debtor to be accurate to the best of his/her knowledge, information and belief, as are required

 under the DIP Financing Documents, and such additional written reports as the DIP Agent and

 Pre-Petition Agent, in their reasonable discretion, shall require.

        28.     The Debtors are directed to keep their books and records of original entry,

 including without limitation, records of sale, credits authorized (whether or not credit

 memoranda have been issued), purchases, accounts receivable, bills of lading, cash receipts, and

 cash disbursements, current and updated, so that all business activity is posted to them in the

 ordinary course of the Debtors’ businesses.




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        29.     The DIP Agent and Pre-Petition Agent shall have the right to inspect, audit,

 examine, check, make copies of or extracts from the books, accounts, checks, orders, invoices,

 bills of lading, correspondence and other records of the Debtors, and the Debtors shall make all

 of same available to the DIP Agent and its representatives for such purposes.

        30.     The Debtors shall continue to maintain the blocked account and lockbox system

 for their receivables, in form and substance satisfactory to the DIP Agent, established pursuant to

 the terms of the Interim Order.

        31.     To the extent that all cash and checks of the Debtors currently in their possession,

 bank accounts, lockbox accounts or otherwise, and the proceeds thereof, if any, are proceeds of

 the Collateral, upon entry of this Second Interim Order, the Debtors shall deliver such proceeds

 to the DIP Agent, and thereafter the Debtors and any successor to the Debtors, including without

 limitation any successor trustee or trustees, shall immediately deliver any and all payments or

 proceeds realized upon the sale, liquidation, collection or disposition of the Post-Petition

 Collateral or Pre-Petition Collateral, including without limitation the proceeds of sales

 authorized pursuant to Bankruptcy Code § 363 or any plan of reorganization (“Proceeds”)

 which come into their possession to the DIP Agent, in the form received.

        32.     The DIP Agent is authorized to accrue interest on the outstanding balance of the

 Obligations pursuant to the DIP Financing Documents, and to apply remittances from the

 Debtors against interest as set forth herein and therein.

        33.     Subject to the other terms of this Second Interim Order, the DIP Agent is

 authorized, notwithstanding the provisions of Bankruptcy Code § 362, to retain and apply the

 proceeds of the Post-Petition Collateral including the Pre-Petition Collateral as follows:

                        (A)    Prior to the occurrence of the Termination Date (as
                defined in the Post-Petition Credit Agreement), all payments and
                collections from Pre-Petition Collateral or Post-Petition Collateral
                (including Cash Collateral) except as provided in subparagraph (C)


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             below shall be applied, first, to the payment of normal operating
             expenses consistent, in amount and type of expenditure, with the
             Budget or as otherwise approved by order of the Bankruptcy
             Court; second, to the costs, fees and expenses of the DIP Agent
             (including without limitation the reasonable fees and expenses of
             its counsel and other professionals employed or retained by the
             DIP Agent); third, to interest and fees then due and to the
             prepayment of all Loans (as defined in the Post-Petition Credit
             Agreement) and LC Disbursements (as defined in the Post-Petition
             Credit Agreement) hereunder until all Loans and LC
             Disbursements shall be fully paid (but without any reduction in the
             DIP Commitments resulting from such prepayments); fourth, to be
             held by the DIP Agent in the Cash Collateral Account until
             released or applied pursuant to Section 9.04 of the Post-Petition
             Credit Agreement; and fifth, as this Second Interim Order shall
             provide and otherwise as shall be determined by the Bankruptcy
             Court.

                     (B)    After the occurrence of the Termination Date, all
             payments and collections from Pre-Petition Collateral or Post-
             Petition Collateral (including proceeds from asset sales and Cash
             Collateral) shall be applied, first, to the payment of all costs and
             expenses incurred by the DIP Agent which the Borrower has
             agreed to pay under Section 11.03 of the Post-Petition Credit
             Agreement, including without limitation any reasonable costs and
             expenses incurred by the DIP Agent in monitoring, verifying,
             protecting, preserving or enforcing the Liens (as defined in the
             Post-Petition Credit Agreement) on the Collateral or in protecting,
             preserving or enforcing rights under the DIP Financing Documents
             (such funds to be retained by the DIP Agent for its own account
             unless it has previously been reimbursed for such costs and
             expenses by the DIP Lenders, in which event such amounts shall
             be remitted to the DIP Lenders to reimburse them for payments
             previously made to the DIP Agent); second, to the payment of
             principal and interest on all outstanding Loans (as defined in the
             Post-Petition Credit Agreement) and LC Disbursements (as
             defined in the Post-Petition Credit Agreement) until all such
             amounts are fully paid, then to be held as collateral for all
             outstanding LC Exposure (as defined in the Post- Petition Credit
             Agreement) (in an amount equal to 105% thereof) under the Post-
             Petition Credit Agreement; third, to the payment of all other
             outstanding Post-Petition Obligations until all such amounts are
             fully paid; fourth, to the Pre-Petition Obligations, and to
             collateralize any letters of credit issued under the Pre-Petition
             Credit Agreement until all such Pre-Petition Obligations shall be
             fully paid and all such letters of credit shall be fully collateralized


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             (subject to the Carve-Out); and fifth, as shall be determined by the
             Bankruptcy Court.

                      (C)     To the extent that any sales of assets which include
             any Pre-Petition Collateral or Post-Petition Collateral occur prior
             to the Termination Date and outside the ordinary course of
             business (none to occur without Bankruptcy Court approval and
             with the DIP Lenders and the Pre-Petition Lenders reserving all
             rights, if any, to object to any such sale), 100% of the Net Proceeds
             (as hereinafter defined) thereof in excess of $1,000,000 per
             disposition or series of related dispositions and 100% of the Net
             Proceeds thereof in excess of $5,000,000 in the aggregate for all
             dispositions must be paid to the DIP Agent for the account of the
             DIP Lenders and the Pre-Petition Lenders for application to the
             Pre-Petition Credits (as defined in the Post-Petition Credit
             Agreement) and the DIP Credit as described below. Asset sale
             proceeds shall not include any casualty or condemnation proceeds
             to the extent Holdings, the Company, or the relevant Subsidiary
             Guarantor (as defined in Post Petition Credit Agreement) has
             elected to use such proceeds to repair, rebuild, or replace the assets
             subject to such casualty or condemnation, no Event of Default
             exists and, to the extent of proceeds in excess of $5,000,000 with
             respect to any single casualty or condemnation event, the DIP
             Lenders have approved such repair, rebuilding or replacement.
             Any property so repaired, rebuilt or replaced shall constitute part
             of the Post-Petition Collateral and shall be subject to the
             Replacement Liens in favor of the Pre-Petition Agent and the Pre-
             Petition Lenders. As used herein with respect to asset sales the
             term “Net Proceeds” shall mean the gross sale price less actual
             taxes payable and the costs of such sale which have been approved
             by the DIP Agent. Any such proceeds of sale designated to pay
             such taxes and costs of sale which are not required to be disbursed
             at the closing of such sale shall be held in escrow by the DIP
             Agent and shall be subject to the lien of the DIP Agent, the DIP
             Lenders, the Pre-Petition Agent, and the Pre-Petition Lenders until
             applied to pay such taxes and costs of sale. Prior to the
             Termination Date, the Net Proceeds of asset sales in excess of
             $1,000,000 per disposition or series of related dispositions and
             100% of the Net Proceeds thereof in excess of $5,000,000 in the
             aggregate for all dispositions shall be applied as follows: First, to
             the DIP Agent for application to the DIP Exposure (as defined in
             the Post-Petition Credit Agreement) in an amount equal to the
             amount attributable to any Eligible Receivables (as defined in the
             Post-Petition Credit Agreement) in the Available Borrowing Base
             (as defined in the Post-Petition Credit Agreement) subject to such
             Disposition (as defined in the Post-Petition Credit Agreement);


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                Second, up to $100,000,000 of Net Cash Proceeds (as defined in
                the Post-Petition Credit Agreement) in the aggregate from all such
                Dispositions (as defined in the Post-Petition Credit Agreement)
                shall be applied to the Pre-Petition Obligations as provided in the
                Pre-Petition Credit Agreement; Third, to be held as cash collateral
                by the DIP Agent hereunder for the DIP Credit in such amount as
                the DIP Agent or the DIP Lenders may then require; and Fourth, to
                the Pre-Petition Obligations as provided in the Pre-Petition Credit
                Agreement. Any proceeds of a Disposition (as defined in the Post-
                Petition Credit Agreement) described in this paragraph designated
                to pay actual taxes payable and costs of such Disposition shall be
                held by the DIP Agent in escrow until applied to pay such taxes
                and costs. If the DIP Credit shall become fully paid from the Net
                Proceeds of asset sales, then any remainder Net Proceeds shall be
                applied to reduce the Pre-Petition Obligations of the Pre-Petition
                Lenders. Following any asset sale in excess of $1,000,000 in the
                aggregate, the Available Borrowing Base shall be reset and the
                Budget shall be redetermined to the satisfaction of the requisite
                DIP Lenders.
 provided, further, that (i) upon the Termination Date any consent to use of Cash Collateral given

 by the Pre-Petition Lenders or the DIP Lenders shall terminate and any rights of the Debtors to

 use Cash Collateral granted under this Second Interim Order or the DIP Financing Documents

 shall cease on the Termination Date and (ii) such applications of the Proceeds set forth in A and

 B above shall be free and clear of any claim, charge, assessment or other liability.

 Notwithstanding the application of Proceeds set forth in A above, Cash Collateral collected after

 the Petition Date but prior to the Termination Date may be used by the Debtors to pay any

 essential trade creditor in full (including for pre-petition trade payables), provided that (a) such

 payment is permitted by the Budget, (b) such essential trade creditor has executed an agreement

 (in form and substance satisfactory to the DIP Lenders and the Pre-Petition Lenders) with the

 Debtors pursuant to which such essential trade creditor agrees to continue to extend credit and

 supply goods and/or services to the Debtors on normal and customary enhanced terms in

 accordance with industry standards or terms acceptable to the DIP Agent and Pre-Petition Agent

 and consistent with the assumptions used in the projections of the Debtors that support feasibility



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 of the Debtors and that have been approved by the Pre-Petition Lenders and the DIP Lenders,

 and (c) the Court has approved such payment to such essential trade creditor.

          34.   Pursuant to, and to the extent of, the provisions of Bankruptcy Code § 364(e), the

 liens, mortgages and security interests, administrative claims and adequate protection provisions

 granted by this Second Interim Order shall be binding on the Debtors, their estates and their

 successors and assigns even if this Second Interim Order is reversed or modified on appeal.

          35.   The Debtors are hereby authorized to do and perform all acts and to make,

 execute and deliver all instruments and documents which may be required or necessary for the

 performance of the DIP Credit Facility including, without limitation, the delivery to the DIP

 Agent of the original checks or other forms of remittance received by the Debtors which are the

 proceeds of the Post-Petition Collateral, the payment by the Debtors of any monies or assets in

 their possession and all sums required to be paid to the DIP Agent and the DIP Lenders under the

 DIP Credit Facility.

          36.   Notwithstanding Bankruptcy Rule 7062, the terms and conditions of this Second

 Interim Order shall: (a) be immediately enforceable; and (b) not be stayed absent the grant of

 such stay under Bankruptcy Rule 8005 after a hearing upon notice to the Debtors and the DIP

 Agent.

          37.   The provisions of this Second Interim Order and any actions taken pursuant

 hereto shall survive entry of any orders which may be entered confirming any plan of

 reorganization or which may be entered converting these Chapter 11 Cases from Chapter 11 to

 Chapter 7 of the Bankruptcy Code; provided, further, that the terms and provisions of this

 Second Interim Order, as well as the liens, mortgages and security interests, administrative

 claims and adequate protection provisions granted under the DIP Credit Facility and to secure

 the Adequate Protection Claim, shall continue in this or any superseding case under the




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 Bankruptcy Code and such liens, mortgages and security interests and the Adequate Protection

 Claim and the GECC Super-Priority Claim shall maintain their priority as provided by this

 Second Interim Order until the Obligations and the Pre-Petition Obligations are satisfied in full.

        38.     Nothing in this Second Interim Order shall limit the DIP Lenders’ and the Pre-

 Petition Lenders’ rights to seek modification of this Second Interim Order (with the consent of

 the Debtors if no default exists) or for cause if a default exists under the Post-Petition Credit

 Agreement.

        39.     Nothing in this Second Interim Order shall in any way prejudice or compromise

 any rights that the Pre-Petition Lenders or the DIP Lenders may have against parties other than

 the Debtors.

        40.     The provisions of this Second Interim Order shall be binding upon and inure to

 the benefit of the DIP Agent, the DIP Lenders, the Pre-Petition Agent, the Pre-Petition Lenders,

 GECC, the Debtors, the Debtors’ estates and their respective successors and assigns (including

 any trustee appointed as a representative of any Debtor’s estate or in any subsequent proceeding

 under the Bankruptcy Code).

        41.     To the extent that any of the provisions of this Second Interim Order shall conflict

 with any of the provisions of the DIP Financing Documents, this Second Interim Order is

 deemed to control and shall supersede the conflicting provision(s) in said agreement(s).
 PREPARED BY:

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 ATTORNEYS FOR
 DEBTORS AND DEBTORS IN POSSESSION



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                                             SCHEDULE I

                                         LIST OF SUBSIDIARIES

 ORIGINATOR-DEBTORS:

 Carpenter Enterprises Limited,

 Daisy Parts, Inc.,

 EaglePicher Automotive, Inc.,

 EaglePicher Filtration & Minerals, Inc.,

 EaglePicher Incorporated

 EaglePicher Pharmaceutical Services, LLC,

 EaglePicher Technologies LLC

                                         2
 NON-ORIGINATOR DEBTOR :

 Eagle-Picher Far East, Inc.




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        Holdings is not an Originator.
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                                    EXHIBIT A

                                     BUDGET
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